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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

DAVID C. WARTH,
Plaintiff, CIVIL ACTION FILE NO.

1:23-cv-05072-MLB

Vv.

THOMAS WILLIAMSON,

Defendant.

DEFENDANT’S EXHIBITS TO STATEMENT OF UNDISPUTED
MATERIAL FACTS IN SUPPORT OF MOTION FOR SUMMARY
JUDGMENT

Ex. G— Order Withdrawing Guilty Plea
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IN THE STATE COURT OF GWINNETT COUNTY
STATE OF GEORGIA

STATE OF GEORGIA, ROMARD ALEXANDER nutes
Accusation Number:

VS, 16D-6001-4

DAVID CHRISTOPHER WARTH,

Defendant.

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ORDER GRANTING MOTION TO WITHDRAW PLEA AND
SETTING ASIDE AND VACATING SENTENCE

Defendant, David Christopher Warth, entered into a negotiated plea and was sentenced by
this Court on February 9, 2017. Defendant, by and through counsel, subsequently filed a First
Amended Motion to Withdraw Guilty Plea, which was heard by this Court on June 30, 2017.
After consideration of the Motion, all matters of record and the applicable and controlling law,
this Court finds Defendant’s Motion is proper. The Court does not find that there was a
sufficient factual basis for Defendant Warth to enter a plea of guilty to the charges set forth in the
Accusation.

Therefore, the Motion to Withdraw Guilty Plea is hereby GRANTED, and Defendant’s
sentence shall be set aside and vacated. Defendant’s bond, including the special conditions, shall
be reinstated. Defendant Warth shall not have any contact, direct or indirect, with Brittney

Dewey or Brookwood High School. This case shall be placed on the next available trial calendar.

SO ORDERED this /2 dayof Ver aes7/ 2017.
Sercerinat Joseph C. Iannazzone, Judge
in Gwinnett County Superior/State Court State Court of Gwinnett County

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